                                                                                                     Case 8:21-cv-00278-JLS-ADS Document 93 Filed 11/15/22 Page 1 of 2 Page ID #:4842



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SQUIRE PATTON BOGGS (US) LLP




                                                                                                                                 UNITED STATES DISTRICT COURT
                               555 South Flower Street, 31st Floor




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                                                                     Los Angeles, California 90071




                                                                                                                  CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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                                                                                                            800 COLUMBIA PROJECT                     Case No. 8:21-cv-00278-JLS-ADS
                                                                                                       15   COMPANY, LLC,
                                                                                                                                                     JOINT NOTICE OF
                                                                                                       16                  Plaintiff,                SETTLEMENT AND REQUEST
                                                                                                                                                     TO STAY CASE DEADLINES
                                                                                                       17         v.
                                                                                                                                                     [Proposed Order filed concurrently]
                                                                                                       18   CMB WING LUNG BANK, LTD., et al.,
                                                                                                       19                 Defendants.
                                                                                                                                                     Judge: Hon. Josephine L. Staton
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                                                                                                                                                     Complaint Filed: February 12, 2021
                                                                                                       21                                            FAC Filed: April 20, 2021
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                                                                                                                                                                JOINT NOTICE OF SETTLEMENT
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                                                                                                        1         The parties hereby report to the Court that following a mediation session held
                                                                                                        2   on November 4, 2022, the parties have reached a full and final settlement of all
                                                                                                        3   claims pending in this case. They are currently preparing and executing settlement
                                                                                                        4   paperwork, and expect to effectuate settlement of this matter within sixty (60) days.
                                                                                                        5         The parties respectfully request that the Court vacate the scheduled final
                                                                                                        6   pretrial conference, currently set for December 16, 2022, so as to permit the parties
                                                                                                        7   to fully and finally settle this matter and file a stipulation of dismissal pursuant to
                                                                                                        8   Fed. R. Civ. P. 41(a)(1)(A)(ii), which will conserve the resources of both the Court
                                                                                                        9   and the parties. A proposed order has been submitted contemporaneously with this
                                                                                                       10   Notice.
                                                                                                       11
SQUIRE PATTON BOGGS (US) LLP
                               555 South Flower Street, 31st Floor




                                                                                                       12   Dated: November 15, 2022                             AKERMAN LLP
                                                                     Los Angeles, California 90071




                                                                                                       13                                                  By:   /s/ Alicia Y. Hou
                                                                                                       14                                                        Ellen S. Robbins
                                                                                                                                                                 Alicia Y. Hou
                                                                                                       15                                                        Jonathan M. Turner
                                                                                                                                                           Attorneys for Plaintiff
                                                                                                       16                                                  800 Columbia Project, LLC

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                                                                                                            Dated: November 15, 2022                       SQUIRE PATTON BOGGS US LLP
                                                                                                       19
                                                                                                       20                                                  By:   /s/ Gabriel Colwell
                                                                                                                                                                 Gabriel Colwell
                                                                                                       21                                                        Jesse L. Taylor
                                                                                                                                                           Attorneys for Defendant
                                                                                                       22                                                  CMB Wing Lung Bank, Ltd.
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